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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                             Complainant,
             v.
                                                                Criminal Case No.
KELLY MEGGS

                                                                1:21-cr-28-8-APM
(Styled as USA v. Thomas Edward Caldwell
incorporating cases against multiple Defendants)

                             Defendant



         NOTICE REGARDING NEWS FROM DETAINEES IN D.C. JAIL (CTF)

       COMES NOW Mr. Kelly Meggs, by counsel, and provides the following notice:

       The Court and counsel and the public will have heard various versions of concerns that

occurred Thursday, November 11, 2021, in the D.C. Jail, specifically in the so-called CTF that

includes a wing of around 38 criminal Defendants detained pre-trial for cases relating to

disturbances and events on January 6, 2021, in Washington, D.C.

       Counsel provides this information, (1) to promote accuracy and avoid excessive

speculation, (2) to ask the Court’s administrative leadership side to request infrastructure funds

for repair and upgrades of the D.C. Jail, and (3) to ask the Court to weigh in the balance the

advantages of pre-trial release on bail.

       Counsel Jonathon Moseley became aware around 12:50 PM Thursday of an incident or

incidents in the D.C. Jail. Some of the reports appear to have sounded more serious than may

actually have been the case. But they are still worth noting.

       Starting at 1:40 PM, with clarification later Thursday evening, according to Kelly Meggs’
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family relayed from Kelly Meggs by family telephone connection:

               When a January 6 detainee in the CTF / D.C. jail refused to wear a
               mask, the guards responded with some kind of mace or pepper spray.

               This created a disturbance and the wing was locked down at 10 AM.

               “They sprayed mace or some type of gas at an inmate and kept
               missing so it went into an intake that fed into other cells and the lady
               with the key left because she didn't like the gas, so the inmates in the
               cells who were being fed the gas from that intake were locked in for
               like 15 minutes while it was going into their rooms and they couldn't
               see/breathe.”

               “Had to take some guys out in stretchers to the med bays”


               That is, it seems to have been the ventilation system acting on its
               own that created most of the problems, although one wonders if
               the initial action was the correct action.


               There may have been much more of a confrontation and disturbance,
               but counsel has no confirmation of that.


               Other reports are that three detainees were taken out on stretchers,
               although it is not clear if this was merely preventative.

               It is not clear if this led to more than one detainee being in a conflict
               with guards.

               Kelly Meggs was not in one of the cells that the gas was being cycled
               into by the ventilation system.


       On the one hand, this communication confirms that these things happened, while also

perhaps lessening the severity of some reports.

       Meanwhile, counsel for Kelly Meggs urges the executive / administrative functions of the

Court to officially explore with the Bureau of Prisons and the Congress whether any of the

trillions of dollars of infrastructure spending may be already allocated or re-programmed under




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the Impoundment Act to repair and upgrade the D.C. Jail facilities. As complicated by COVID-

19, upgrading the jail facilities is a COVID-related precaution. Furthermore, reports of the

dreaded black mold that affects many buildings required a rather hasty clean-up, that sounds too

quick to be fully effective.

       Not being an expert or experienced in proper jail procedures, counsel will not judge the

actions taken, but also suggests that money should be allocated for proper training on standards,

again, particularly under the difficult conditions of the COVID-19 pandemic.

       Counsel also encourages the Court to weigh both the pros and cons of releasing Kelly

Meggs and others on bail to avoid the government dealing with these complications.


Dated: November 12, 2021             RESPECTFULLY SUBMITTED
                                     MR. KELLY MEGGS, By Counsel




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                                CERTIFICATE OF SERVICE

         I hereby certify that on November 12, 2021, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to the following CM/ECF participants. From my review of the PACER / ECF docket
records for this case that the following attorneys will receive notice through the ECF system of
the U.S. District Court for the District of Columbia.



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